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dKd>sEhZsEh^                                ϭ͕ϭϬϯ͕ϳϵϵ            ϯ͕ϯϴϰ͕ϯϯϱ             ϱ͕ϰϬϬ͕ϲϱϭ             ϰ͕ϰϮϱ͕ϬϬϬ            ϰ͕ϰϯϬ͕ϬϬϬ            ϳϴϱ͕ϬϬϬ            ϭϵ͕ϱϮϴ͕ϳϴϱ

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dKd>^WKE^KZ^,/WZsEh^                           ϰϴϭ͕ϮϬϵ             ϭ͕ϳϮϱ͕ϯϯϲ             Ϯ͕Ϯϳϴ͕ϵϭϴ             Ϯ͕ϳϰϱ͕ϬϬϬ            Ϯ͕ϳϳϬ͕ϬϬϬ            ϱϲϱ͕ϬϬϬ            ϭϬ͕ϱϲϱ͕ϰϲϯ

dKd>Kd,ZZK^dZsEh                       ϭ͕ϯϴϯ͕ϮϱϬ            ϳ͕ϱϵϬ͕ϬϬϬ             ϵ͕ϬϱϬ͕ϬϬϬ            ϭϬ͕ϱϮϬ͕ϬϬϬ           ϭϮ͕ϯϳϬ͕ϬϬϬ           ϯ͕ϬϬϬ͕ϬϬϬ           ϰϯ͕ϵϭϯ͕ϮϱϬ

dKd>DZ,E/^ZsEh^                                                                      ϭϱϲ͕ϯϮϬ               ϮϮϮ͕ϬϬϬ              ϮϮϯ͕ϬϬϬ              ϰϯ͕ϱϬϬ              ϲϰϰ͕ϴϮϬ

dKd>Kd,ZZsEh^                                                       ϰϭϬ͕ϬϬϬ                                                                                                  ϰϭϬ͕ϬϬϬ

dKd>sEdZsEh^                                Ϯ͕ϵϲϴ͕Ϯϱϴ           ϭϯ͕ϭϬϵ͕ϲϳϭ            ϮϬ͕ϰϳϬ͕ϭϯϵ            Ϯϭ͕ϵϰϰ͕Ϯϴϭ           Ϯϰ͕Ϯϳϯ͕ϯϭϯ           ϰ͕ϯϵϯ͕ϱϬϬ           ϴϳ͕ϭϱϵ͕ϭϲϮ

dKd>sEd^K^d^                                  Ϯ͕ϱϳϵ͕ϬϬϱ           ϭϯ͕ϳϳϰ͕ϰϳϯ            ϭϵ͕ϰϴϲ͕ϭϴϬ            ϭϴ͕ϱϬϳ͕ϲϱϬ           ϭϵ͕Ϯϵϯ͕ϳϱϬ           ϯ͕ϰϳϱ͕ϴϯϬ           ϳϳ͕ϭϭϲ͕ϴϴϴ

sEd/d                                         ϯϴϵ͕Ϯϱϯ              ;ϲϲϰ͕ϴϬϮͿ             ϵϴϯ͕ϵϱϵ              ϯ͕ϰϯϲ͕ϲϯϭ            ϰ͕ϵϳϵ͕ϱϲϯ            ϵϭϳ͕ϲϳϬ            ϭϬ͕ϬϰϮ͕Ϯϳϰ

sEd/dй                                          ϭϯ͘ϭй                Ͳϱ͘ϭй                  ϰ͘ϴй                 ϭϱ͘ϳй                ϮϬ͘ϱй               ϮϬ͘ϵй                ϭϭ͘ϱй

dKd>KWZd/E';/ŶĐůƵĚĞƐKƉƚŝŽŶĞǆƉĞŶƐĞͿ            ϯϬϬ͕ϬϬϬ             ϭ͕ϴϬϬ͕ϬϬϬ             ϭ͕ϴϬϬ͕ϬϬϬ             Ϯ͕ϲϯϯ͕ϯϯϬ            Ϯ͕ϮϬϬ͕ϬϬϬ            ϯϲϲ͕ϲϲϲ             ϵ͕Ϭϵϵ͕ϵϵϲ

dKd>/d                                          ϴϵ͕Ϯϱϯ            ;Ϯ͕ϰϲϰ͕ϴϬϮͿ             ;ϴϭϲ͕ϬϰϭͿ             ϴϬϯ͕ϯϬϭ             Ϯ͕ϳϳϵ͕ϱϲϯ            ϱϱϭ͕ϬϬϰ              ϵϰϮ͕Ϯϳϴ

dKd>/dй                                           ϯ͘Ϭй               Ͳϭϴ͘ϴй                 Ͳϰ͘Ϭй                  ϯ͘ϳй                ϭϭ͘ϱй               ϭϮ͘ϱй                 ϭ͘ϭй
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